Case 1:21-cr-00051-JAO Document 24 Filed 10/25/21 Page 1 of 6         PageID #: 237




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Attorney for Defendant
VILISENI MATEAKI

                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI`I

UNITED STATES OF AMERICA,                  CR. NO. 21-00051 JAO
                    Plaintiff,             DEFENDANT VILISENI
                                           MATEAKI’S SUPPLEMENT TO
       vs.                                 SENTENCING STATEMENT;
                                           EXHIBIT “1”; CERTIFICATE OF
VILISENI MATEAKI,                          SERVICE
                    Defendant.             Sentencing Date: November 4, 2021


                  DEFENDANT VILISENI MATEAKI’S
               SUPPLEMEN TO SENTENCING STATEMENT

      Defendant VILISENI MATEAKI, by and through his undersigned counsel,

respectfully submits the Certificates of Participation received from the Federal

Bureau of Prisons, attached hereto as Exhibit “1”.

      DATED: Honolulu, Hawai`i, October 25, 2021.

                                              /s/ Michael Jay Green
                                             MICHAEL JAY GREEN
                                             Attorney for Defendant
                                             VILISENI MATEAKI
Case 1:21-cr-00051-JAO Document 24 Filed 10/25/21 Page 2 of 6   PageID #: 238




   EXHIBIT “1”
Case 1:21-cr-00051-JAO Document 24 Filed 10/25/21 Page 3 of 6   PageID #: 239




                                                        EXHIBIT "1"
Case 1:21-cr-00051-JAO Document 24 Filed 10/25/21 Page 4 of 6   PageID #: 240
Case 1:21-cr-00051-JAO Document 24 Filed 10/25/21 Page 5 of 6   PageID #: 241
Case 1:21-cr-00051-JAO Document 24 Filed 10/25/21 Page 6 of 6          PageID #: 242




                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI`I

UNITED STATES OF AMERICA,                  CR. NO. 21-00051 JAO

                    Plaintiff,             CERTIFICATE OF SERVICE

       vs.

VILISENI MATEAKI,

                    Defendant.


                         CERTIFICATE OF SERVICE

             I hereby certify that a true and correct copy of the attached was duly

served upon the following parties as set forth below:

Served Electronically through CM/ECF:

KENNETH M. SORENSON,                       ken.sorenson@usdoj.gov
 Assistant U.S.Attorney
Attorney for Plaintiff
UNITED STATES OF AMERICA

Served Via Email:

Oladipupo Victor Adegun,                   victor_adegun@ncmp.uscourts.gov
 U.S. Probation Officer

      DATED: Honolulu, Hawai`i, October 25, 2021.

                                             /s/ Michael Jay Green
                                             MICHAEL JAY GREEN
                                             Attorney for Defendant
                                             VILISENI MATEAKI
